                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 1 of 46



                     1   Michelle Park Chiu, Bar No. 248421             Kalpana Srinivasan, Bar No. 237460
                         michelle.chiu@morganlewis.com                  ksrinivasan@susmangodfrey.com
                     2   Minna Lo Naranjo, Bar No. 259005               Michael Gervais, Bar No. 330731
                         minna.naranjo@morganlewis.com                  mgervais@susmangodfrey.com
                     3   MORGAN, LEWIS & BOCKIUS LLP                    Jesse-Justin Cuevas, Bar No. 307611
                         One Market, Spear Street Tower                 jcuevas@susmangodfrey.com
                     4   San Francisco, CA 94105-1596                   SUSMAN GODFREY L.L.P.
                         Telephone: (415) 442-1000                      1900 Avenue of the Stars, Suite 1400
                     5   Facsimile: (415) 442-1001                      Los Angeles, CA 90067
                                                                        Telephone: (310) 789-3100
                     6   J. Clayton Everett Jr., pro hac vice           Facsimile: (310) 789-3150
                         clay.everett@morganlewis.com
                     7   Ryan M. Kantor, pro hac vice                   Shawn Raymond, pro hac vice pending
                         ryan.kantor@morganlewis.com                    sraymond@susmangodfrey.com
                     8   MORGAN, LEWIS & BOCKIUS LLP                    Alex Kaplan, pro hac vice
                         1111 Pennsylvania Avenue, NW                   akaplan@susmangodfrey.com
                     9   Washington, D.C. 20004-2541                    Adam Carlis, pro hac vice forthcoming
                         Telephone: (202) 739-3000                      acarlis@susmangodfrey.com
                    10   Facsimile: (202) 739-3001                      Alejandra Salinas, pro hac vice forthcoming
                                                                        asalinas@susmangodfrey.com
                    11   John C. Dodds, pro hac vice                    Abby Noebels, pro hac vice forthcoming
                         john.dodds@morganlewis.com                     anoebels@susmangodfrey.com
                    12   Zachary M. Johns, pro hac vice                 SUSMAN GODFREY L.L.P.
                         zachary.johns@morganlewis.com                  1000 Louisiana, Suite 5100
                    13   MORGAN, LEWIS & BOCKIUS LLP                    Houston, Texas 77002-5096
                         1701 Market Street                             Telephone: (713) 651-9366
                    14   Philadelphia, PA 19103-2921                    Facsimile: (713) 654-6666
                         Telephone: (215) 963-5000
                    15   Facsimile: (212) 309-6001
                    16   Attorneys for Defendant
                         Intercontinental Exchange, Inc.
                    17

                    18                               UNITED STATES DISTRICT COURT
                    19                           NORTHERN DISTRICT OF CALIFORNIA
                    20                                      SAN FRANCISCO DIVISION
                    21
                         FEDERAL TRADE COMMISSION,                       Case No. 3:23-cv-01710-AMO
                    22
                                               Plaintiff,                DEFENDANT INTERCONTINENTAL
                    23                                                   EXCHANGE, INC.’S ANSWER AND
                                       v.                                AFFIRMATIVE DEFENSES AND
                    24                                                   COUNTERCLAIMS
                         INTERCONTINENTAL EXCHANGE, INC.
                    25   and
                         BLACK KNIGHT, INC.,
                    26
                                               Defendants.
                    27

                    28
MORGAN, LEWIS &                                                                     Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 2 of 46



                     1                          ANSWER AND AFFIRMATIVE DEFENSES OF
                                                 INTERCONTINENTAL EXCHANGE, INC.
                     2
                                Defendant Intercontinental Exchange, Inc. (“Intercontinental Exchange”), by and through
                     3
                         its undersigned attorneys, hereby answers Plaintiff Federal Trade Commission’s (“Plaintiff” or
                     4
                         “FTC”) Complaint for a Temporary Restraining Order and Preliminary Injunction Pursuant to
                     5
                         Section 13(b) of the Federal Trade Commission Act (the “Complaint”) as follows:
                     6
                                                                 INTRODUCTION
                     7
                                Intercontinental Exchange owns a loan origination service platform, along with certain
                     8
                         other mortgage-related products. It seeks to acquire Black Knight, Inc. (“Black Knight”), a
                     9
                         provider of software solutions, data, and analytics in mortgage and real estate markets.
                    10
                         Intercontinental Exchange and Black Knight provide different services in the mortgage finance
                    11
                         industry, and the products that will be combined through the acquisition are complementary and
                    12
                         do not meaningfully overlap.
                    13
                                The proposed transaction will result in substantial procompetitive benefits for U.S.
                    14
                         consumers, including specific quality improvements, cost savings, increased access to residential
                    15
                         mortgages, and more. All of these will directly benefit mortgage borrowers, existing and
                    16
                         potential homeowners, and mortgage lenders, because the transaction will enable greater
                    17
                         automation, integration of different systems, and product improvements that will lower the costs
                    18
                         of originating, selling, and servicing mortgages and improve the quality of those services. These
                    19
                         tangible benefits will especially benefit the large number of first-time, often cash-constrained
                    20
                         homebuyers and improve homeownership outcomes across the board, particularly in underserved
                    21
                         communities.
                    22
                                The FTC’s stated grounds for challenging this transaction are factually and legally
                    23
                         unsupported. Nonetheless, throughout this proposed transaction process, Intercontinental
                    24
                         Exchange and Black Knight have worked cooperatively and in good faith with the FTC to provide
                    25
                         requested information, which included turning over tens of millions of documents, making its
                    26
                         executives available for meetings with the FTC, interviews by the FTC, and depositions by the
                    27

                    28
MORGAN, LEWIS &                                                2                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                           Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 3 of 46



                     1   FTC, and participating in a host of meetings with the FTC to discuss the deal as completely and
                     2   transparently as possible.
                     3          Intercontinental Exchange and Black Knight have taken the FTC’s concerns seriously.
                     4   Most notably, in direct response to what the FTC identified as its primary concern,
                     5   Intercontinental Exchange and Black Knight agreed to spin-off from the proposed transaction a
                     6   Black Knight-owned business called Empower that provides processing, underwriting, and pre-
                     7   closing services (“LOS services”). A highly-qualified third-party, Constellation Software, Inc.,
                     8   purchased Empower and a broad package of other assets so that Intercontinental Exchange’s
                     9   acquisition of Black Knight will not reduce the number of competitors in the claimed LOS
                    10   market. That market already sees rigorous competition from a variety of other LOS providers—
                    11   e.g., Blue Sage, Byte, Calyx, Finastra, Fiserv, Integra, Mortgage Cadence, and Wipro—each of
                    12   which has won and continues to win business from lenders of every size. The divestiture of
                    13   Black Knight’s Empower will ensure that the pre-transaction levels of competition for LOS
                    14   services are maintained post-transaction and moots the FTC’s principal objection—concern about
                    15   competition in the LOS services market.
                    16          The FTC’s remaining concerns are misplaced, and the FTC cannot meet its burden to
                    17   obtain the extraordinary relief of a preliminary injunction. The FTC focuses on product pricing
                    18   engines (“PPEs”)—software systems that lenders use to identify loans available to buyers and
                    19   their terms. Intercontinental Exchange and Black Knight’s PPE solutions are not close substitutes
                    20   and do not competitively constrain each other. Intercontinental Exchange’s PPE solution is called
                    21   “EPPS” and is a native feature of Intercontinental Exchange’s Encompass software portal,
                    22   available only to Encompass LOS customers. EPPS provides only the most basic functionalities
                    23   of aggregating and displaying mortgage rate terms available from certain mortgage investors. On
                    24   the other hand, Black Knight’s Optimal Blue PPE is a stand-alone commercial PPE used on more
                    25   than a dozen different LOS platforms. Optimal Blue provides much broader functionality and is
                    26   aimed at lenders active in the secondary mortgage market. Those differences lead to significantly
                    27   different pricing (Optimal Blue PPE is substantially more expensive than EPPS) and customer
                    28   bases (Optimal Blue PPE customers are generally closing many more loans than EPPS
MORGAN, LEWIS &                                                        3                     Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                           Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 4 of 46



                     1   customers). Intercontinental Exchange is committed to keeping the Optimal Blue PPE available
                     2   on as many competitor LOS platforms as possible, consistent with Intercontinental Exchange’s
                     3   open mortgage network.
                     4          The proposed transaction also does not present meaningful vertical concerns.
                     5   Intercontinental Exchange has always maintained its Encompass LOS as an open platform that
                     6   allows third parties to integrate with and add functionality to the platform, which is the driving
                     7   force behind its success. Encompass’s open platform is now integrated with hundreds of third-
                     8   party vendors, many of which provide solutions that compete with solutions also offered by
                     9   Intercontinental Exchange on Encompass. The proposed transaction will not change that fact:
                    10   Encompass will continue to maintain an open platform for PPEs, providing its users with access,
                    11   as it does now, to many PPEs besides just EPPS and Optimal Blue. The FTC speculates that
                    12   third-party vendors could be limited or degraded, but that would be against Encompass’s interests
                    13   (its platform is successful precisely because it is open) and inconsistent with how Encompass has
                    14   always operated. The FTC’s challenge to the transaction and its complaint for preliminary
                    15   injunctive relief thus lacks substantive merit.
                    16          There are also constitutional barriers to the procedural approach the FTC is pursuing in
                    17   this case. The FTC’s complaint seeks an injunction, which only this Court can issue, but the FTC
                    18   seeks that relief in support of the FTC’s administrative adjudication process. That administrative
                    19   process violates Intercontinental Exchange’s rights under the Due Process and Equal Protection
                    20   clauses. The FTC has, and will, act as prosecutor, judge, and jury in those administrative
                    21   proceedings. And the administrative law judge appointed by the FTC to conduct the initial
                    22   administrative trial is insulated from presidential control by removal protection, which is directly
                    23   contrary to Article II. Because the FTC’s administrative process will adjudicate Intercontinental
                    24   Exchange’s right to engage in a private commercial transaction with heavily constrained judicial
                    25   review and without any right to a jury trial, it violates Article III of the Constitution and the
                    26   Seventh Amendment. By its counterclaims, Intercontinental Exchange seeks declaratory relief
                    27   that the FTC’s administrative process is unconstitutional and should thus be permanently
                    28   enjoined.
MORGAN, LEWIS &                                                4                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                              Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 5 of 46



                     1            In light of the substantive problems, factually and legally, with the FTC’s complaint, as
                     2   well as the constitutional problems with the administrative procedure the FTC envisions, the FTC
                     3   cannot meet its burden for preliminary injunctive relief. The FTC cannot show that it is likely to
                     4   prevail in securing legally valid relief against Intercontinental Exchange, and cannot show that its
                     5   claimed injury from the transaction would outweigh the serious injury to Intercontinental
                     6   Exchange and Black Knight caused by the constitutional defects. It is contrary to law, the public
                     7   interest, and basic principles of equity to grant an injunction pending resolution of an
                     8   unconstitutional FTC administrative proceeding.
                     9                                    PRELIMINARY STATEMENT
                    10            All allegations not expressly admitted herein are denied. Intercontinental Exchange does
                    11   not interpret the headings and sub-headings throughout the Complaint as well-pleaded allegations
                    12   to which any response is required. To the extent such a response is required, Intercontinental
                    13   Exchange denies all allegations in the headings and sub-headings of the Complaint. Use of
                    14   certain terms or phrases defined in the Complaint is not an acknowledgment or admission of any
                    15   characterization the Commission may ascribe to the defined terms. Unless otherwise defined,
                    16   capitalized terms shall refer to the capitalized terms defined in the Complaint, but any such use is
                    17   not an acknowledgment or admission of any characterization the Commission may ascribe to the
                    18   capitalized terms. Intercontinental Exchange does not concede the truthfulness of sources quoted
                    19   or referenced in the Complaint. To the extent that a response is required and unless otherwise
                    20   indicated, Intercontinental Exchange denies all allegations of sources quoted in or referenced in
                    21   the Complaint. Intercontinental Exchange additionally denies that the Commission is entitled to
                    22   any of the relief sought in Paragraph 149 of the Complaint. Intercontinental Exchange reserves
                    23   the right to amend and/or supplement this Answer at a later stage of the proceedings as permitted
                    24   by the Federal Rules of Civil Procedure.
                    25   I.       NATURE OF THE CASE
                    26            1.     Intercontinental Exchange denies the general characterizations framed as
                    27   allegations in Paragraph 1.
                    28            2.     Intercontinental Exchange denies the general characterizations framed as
MORGAN, LEWIS &                                                          5                        Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP                  DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                         AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 6 of 46



                     1   allegations in Paragraph 2.
                     2          3.      Intercontinental Exchange denies the general characterizations framed as
                     3   allegations in Paragraph 3.
                     4          4.      Intercontinental Exchange denies the allegations in Paragraph 4, except to admit
                     5   only that Intercontinental Exchange’s Encompass LOS operates in the United States and
                     6   processes residential mortgages originated across the nation. Intercontinental Exchange lacks
                     7   knowledge or information sufficient to admit or deny the allegations in Paragraph 4 concerning
                     8   Black Knight, and on that basis denies them.
                     9          5.      Certain of the allegations in Paragraph 5 purport to characterize, summarize, or
                    10   quote from selected portions of unidentified documents and/or transcripts, offered without
                    11   attribution or context. To the extent such documents and/or transcripts are identified,
                    12   Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                    13   statement of their contents. To the extent such documents and/or transcripts are unidentified,
                    14   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                    15   allegations, and on that basis denies them. Intercontinental Exchange lacks knowledge or
                    16   information sufficient to admit or deny the allegations in Paragraph 5 concerning Black Knight,
                    17   and on that basis denies them. Intercontinental Exchange denies the remaining allegations in
                    18   Paragraph 5.
                    19          6.      Intercontinental Exchange admits only that it offers services used to process,
                    20   underwrite, fund, and close a loan. Intercontinental Exchange lacks sufficient knowledge or
                    21   information regarding the vague or undefined term “ancillary services,” and on that basis denies
                    22   any allegations relating thereto. Intercontinental Exchange lacks sufficient knowledge or
                    23   information to admit or deny the allegations in Paragraph 6 concerning Black Knight, and on that
                    24   basis denies them. Intercontinental Exchange denies the remaining allegations in Paragraph 6.
                    25          7.      Intercontinental Exchange lacks sufficient knowledge or information to admit or
                    26   deny the allegations in Paragraph 7 concerning Black Knight, and on that basis denies them.
                    27   Intercontinental Exchange admits the second sentence in Paragraph 7. Intercontinental Exchange
                    28   further admits that EPPS is currently available only to lenders who use Encompass.
MORGAN, LEWIS &                                                           6                       Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 7 of 46



                     1   Intercontinental Exchange denies the remaining allegations in Paragraph 7.
                     2          8.      Intercontinental Exchange denies the allegations in Paragraph 8.
                     3          9.      Intercontinental Exchange only admits the portion of the first sentence between
                     4   “Black Knight” and “in response.” Intercontinental Exchange denies the remaining allegations in
                     5   Paragraph 9.
                     6          10.     Intercontinental Exchange denies the allegations in Paragraph 10.
                     7          11.     The allegations in Paragraph 11 constitute legal conclusions to which no response
                     8   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                     9   in Paragraph 11.
                    10          12.     Intercontinental Exchange lacks sufficient knowledge or information regarding the
                    11   vague or undefined term “ancillary services,” and on that basis denies any allegations relating
                    12   thereto. Intercontinental Exchange denies the remaining allegations in Paragraph 12.
                    13          13.     Intercontinental Exchange lacks sufficient knowledge or information regarding the
                    14   vague or undefined terms “origination costs” and “proportionally larger price increase” and on
                    15   that basis denies any allegations relating thereto. Intercontinental Exchange denies the remaining
                    16   allegations in Paragraph 13.
                    17          14.     Intercontinental Exchange lacks sufficient knowledge or information regarding the
                    18   vague or undefined terms “ancillary service providers,” “ancillary services portfolio,” and “third-
                    19   party providers,” and denies any allegations relating thereto. Intercontinental Exchange denies
                    20   the remaining allegations in Paragraph 14.
                    21          15.     The allegations in Paragraph 15 constitute legal conclusions to which no response
                    22   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    23   in Paragraph 15.
                    24          16.     The allegations in Paragraph 16 constitute legal conclusions to which no response
                    25   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    26   in Paragraph 16.
                    27          17.     Intercontinental Exchange lacks sufficient knowledge or information to admit or
                    28   deny the allegations in Paragraph 17 concerning the Commission, and on that basis denies them.
MORGAN, LEWIS &                                                          7                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                           Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 8 of 46



                     1   Intercontinental Exchange avers by way of further response that the Commission voted out an
                     2   administrative Complaint on March 9, 2023, by a 4-0 vote, that alleged that the Acquisition
                     3   would substantially lessen competition in violation of Section 7 of the Clayton Act, 15 U.S.C. §
                     4   18, and Section 5 of the FTC Act, 15 U.S.C. § 45. The remaining allegations purport to
                     5   characterize the Scheduling Order entered by the Administrative Law Judge on March 29, 2023,
                     6   the FTC’s administrative Complaint, and the FTC’s Rules of Practice, and Intercontinental
                     7   Exchange respectfully refers the Court to those documents for a complete and accurate statement
                     8   of their contents. To the extent the remaining allegations are inconsistent with those documents,
                     9   Intercontinental Exchange denies the remaining allegations in Paragraph 17.
                    10          18.     The allegations in Paragraph 18 constitute legal conclusions to which no response
                    11   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    12   in Paragraph 18.
                    13          19.     The allegations in Paragraph 19 constitute legal conclusions to which no response
                    14   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    15   in Paragraph 19.
                    16   II.    JURISDICTIONAL STATEMENT
                    17          A.      Jurisdiction
                    18          20.     The allegations in Paragraph 20 are legal conclusions to which no response is
                    19   required. To the extent a response is required, the allegations in Paragraph 20 are denied.
                    20          21.     The allegations in Paragraph 21 are legal conclusions to which no response is
                    21   required. To the extent a response is required, the allegations in Paragraph 21 are denied.
                    22          22.     The allegations in Paragraph 22 are legal conclusions to which no response is
                    23   required. To the extent a response is required, the allegations in Paragraph 22 are denied.
                    24          B.      Venue
                    25          23.     The allegations in Paragraph 23 are legal conclusions to which no response is
                    26   required. To the extent a response is required, the allegations in Paragraph 23 are denied.
                    27          C.      Intradistrict Assignment
                    28          24.     Intercontinental Exchange admits only that its Mortgage Technology business has
MORGAN, LEWIS &                                                         8                       Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                           Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 9 of 46



                     1   an office in Alameda County. The remaining allegations in Paragraph 24 are legal conclusions to
                     2   which no response is required. To the extent a response is required, the allegations in Paragraph
                     3   24 are denied.
                     4   III.      THE PARTIES AND THE PROPOSED ACQUISITION
                     5             25.    Intercontinental Exchange lacks knowledge or information sufficient to admit or
                     6   deny the allegations in Paragraph 25 concerning the Federal Trade Commission, and on that basis
                     7   denies them.
                     8             26.    Intercontinental Exchange admits only the first, second, fourth, and sixth sentences
                     9   of the allegations in Paragraph 26. Intercontinental Exchange denies the remaining allegations in
                    10   Paragraph 26.
                    11             27.    Intercontinental Exchange lacks knowledge or information sufficient to admit or
                    12   deny the allegations in Paragraph 25 concerning the Black Knight, and on that basis denies them.
                    13             28.    Intercontinental Exchange denies the allegations in Paragraph 28.
                    14             29.    Intercontinental Exchange admits only that Intercontinental Exchange and Black
                    15   Knight advised the FTC that they would seek to close the Transaction immediately following a
                    16   vote of Black Knight shareholders scheduled for April 28, 2023 in the event the FTC did not seek
                    17   a preliminary injunction. The remaining allegations are legal conclusions to which no response is
                    18   required. To the extent a response is required, the remaining allegations in Paragraph 29 are
                    19   denied.
                    20   IV.       RESIDENTIAL MORTGAGE ORIGINATION
                    21             30.    Intercontinental Exchange admits only that many homeowners utilize mortgages to
                    22   finance the purchase of a home. Intercontinental Exchange lacks sufficient knowledge or
                    23   information regarding the vague and undefined phrases “most important,” “financially
                    24   significant,” and “overwhelming majority,” and on that basis denies those allegations.
                    25   Intercontinental Exchange denies the remaining allegations in Paragraph 30.
                    26             31.    Intercontinental Exchange admits only that LOS technology is used by mortgage
                    27   lenders to assist mortgage lenders by automating the loan creation process. Intercontinental
                    28   Exchange lacks sufficient knowledge or information regarding the vague and undefined phrases
MORGAN, LEWIS &                                                        9                      Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 10 of 46



                     1   “foundational technology” and “vast majority,” and on that basis denies those allegations.
                     2   Intercontinental Exchange denies the remaining allegations in Paragraph 31.
                     3          32.      Intercontinental Exchange lacks sufficient knowledge or information regarding the
                     4   vague or undefined phrases “vast majority,” “compliance requirements,” and “outsourcing,” and
                     5   on that basis denies those allegations. Intercontinental Exchange lacks sufficient knowledge or
                     6   information to admit or deny the allegations regarding any decisions that lenders make, and on
                     7   that basis denies them. Intercontinental Exchange denies the remaining allegations in Paragraph
                     8   32.
                     9          33.      Intercontinental Exchange lacks sufficient knowledge or information regarding the
                    10   first, second, and fourth sentences of Paragraph 33, particularly regarding any decisions that
                    11   lenders make, and on that basis denies them. Intercontinental Exchange denies the remaining
                    12   allegations in Paragraph 33.
                    13          34.      Intercontinental Exchange lacks sufficient knowledge or information regarding the
                    14   vague or undefined terms “interoperate,” “ancillary services,” and “bundle,” and on that basis
                    15   denies those allegations. Intercontinental Exchange denies the remaining characterizations in
                    16   Paragraph 34.
                    17          35.      Intercontinental Exchange lacks sufficient knowledge or information regarding the
                    18   characterization of PPEs generally, and on that basis denies those allegations. Intercontinental
                    19   Exchange denies the remaining allegations in Paragraph 35.
                    20          36.      Intercontinental Exchange lacks sufficient knowledge or information to form a
                    21   belief as to the truth of the general allegations contained in Paragraph 36, and on that basis denies
                    22   them. Intercontinental Exchange denies the remaining allegations in Paragraph 36.
                    23   V.     THE RELEVANT ANTITRUST MARKETS
                    24          37.      The allegations in Paragraph 37 constitute legal conclusions to which no response
                    25   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    26   in Paragraph 37.
                    27          A.       The Commercial LOS Market
                    28          38.      The allegations in Paragraph 38 constitute legal conclusions to which no response
MORGAN, LEWIS &                                                          10                       Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 11 of 46



                     1   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                     2   in Paragraph 38.
                     3          39.     The allegations in the first sentence of Paragraph 39 constitute legal conclusions to
                     4   which no response is required. To the extent a response is required, Intercontinental Exchange
                     5   denies the allegations in the first sentence of Paragraph 39. Intercontinental Exchange lacks
                     6   sufficient knowledge or information regarding the vague or undefined term “peculiar” and denies
                     7   any allegations relating thereto. Intercontinental Exchange lacks knowledge or information
                     8   sufficient to admit or deny the allegations in Paragraph 39 concerning Black Knight.
                     9   Intercontinental Exchange denies the remaining allegations in Paragraph 39.
                    10          40.     The allegations in Paragraph 40 constitute legal conclusions to which no response
                    11   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    12   in Paragraph 40.
                    13          41.     Intercontinental Exchange lacks knowledge or information sufficient to admit or
                    14   deny the allegations in Paragraph 41 regarding Black Knight, and on that basis denies them.
                    15   Certain of the allegations in Paragraph 41 purport to characterize, summarize, or quote from
                    16   selected portions of Black Knight’s Form 10-K for 2021. Intercontinental Exchange refers to
                    17   Black Knight’s Form 10-K for 2021 for a true and complete statement of its contents.
                    18   Intercontinental Exchange denies the remaining allegations in Paragraph 41.
                    19          42.     The allegations in the first sentence of Paragraph 42 constitute legal conclusions to
                    20   which no response is required. To the extent a response is required, Intercontinental Exchange
                    21   denies the allegations in the first sentence of Paragraph 42. Certain of the allegations in
                    22   Paragraph 42 purport to characterize, summarize, or quote from selected portions of unidentified
                    23   documents and/or transcripts, offered without attribution or context. To the extent such
                    24   documents and/or transcripts are identified, Intercontinental Exchange refers to those documents
                    25   and/or transcripts for a true and complete statement of their contents. To the extent such
                    26   documents and/or transcripts are unidentified, Intercontinental Exchange lacks knowledge or
                    27   information sufficient to admit or deny those allegations, and on that basis denies them.
                    28   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny the
MORGAN, LEWIS &                                                        11                       Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 12 of 46



                     1   allegations in Paragraph 42 regarding Black Knight, and on that basis denies them.
                     2   Intercontinental Exchange denies the remaining allegations in Paragraph 42.
                     3          43.     The allegations in Paragraph 43 constitute legal conclusions to which no response
                     4   is required. To the extent a response is required, Intercontinental Exchange lacks sufficient
                     5   knowledge or information regarding the vague or undefined phrase “commercially reasonable
                     6   substitute,” and on that basis denies those allegations. Intercontinental Exchange denies the
                     7   remaining allegations in Paragraph 43.
                     8          44.     Intercontinental Exchange lacks sufficient knowledge or information regarding the
                     9   vague or undefined phrases “highly regulated” and “substantial risk,” and on that basis denies
                    10   those allegations. Intercontinental Exchange denies the remaining allegations in Paragraph 44.
                    11          45.     Intercontinental Exchange denies the allegations in Paragraph 45.
                    12          46.     The allegations in Paragraph 46 constitute legal conclusions to which no response
                    13   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    14   in Paragraph 46.
                    15          47.     Intercontinental Exchange denies the allegations in Paragraph 47.
                    16          B.      The LOS Market
                    17          48.     The allegations in Paragraph 48 constitute legal conclusions to which no response
                    18   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    19   in Paragraph 48.
                    20          49.     The allegations in the first sentence of Paragraph 49 constitute legal conclusions to
                    21   which no response is required. To the extent a response is required, Intercontinental Exchange
                    22   denies the allegations in the first sentence of Paragraph 49. Intercontinental Exchange lacks
                    23   sufficient knowledge or information regarding the vague or undefined phrases “distinct group”
                    24   and “types” and denies any allegations relating thereto. Certain of the allegations in Paragraph 49
                    25   purport to characterize, summarize, or quote from selected portions of unidentified documents
                    26   and/or transcripts, offered without attribution or context. To the extent such documents and/or
                    27   transcripts are identified, Intercontinental Exchange refers to those documents and/or transcripts
                    28   for a true and complete statement of their contents. To the extent such documents and/or
MORGAN, LEWIS &                                                          12                       Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 13 of 46



                     1   transcripts are unidentified, Intercontinental Exchange lacks knowledge or information sufficient
                     2   to admit or deny those allegations, and on that basis denies them. Intercontinental Exchange
                     3   denies the remaining allegations in Paragraph 49.
                     4          50.     The allegations in the first sentence of Paragraph 50 constitute legal conclusions to
                     5   which no response is required. To the extent a response is required, Intercontinental Exchange
                     6   denies the allegations in the first sentence of Paragraph 50. Intercontinental Exchange lacks
                     7   sufficient knowledge or information to form a belief regarding the general background allegations
                     8   about all LOSs and mortgage lenders generally, and on that basis denies those allegations.
                     9   Intercontinental Exchange denies the remaining allegations in Paragraph 50.
                    10          51.     The allegations in Paragraph 51 constitute legal conclusions to which no response
                    11   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    12   in Paragraph 51.
                    13          52.     The allegations in Paragraph 52 constitute legal conclusions to which no response
                    14   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    15   in Paragraph 52.
                    16          53.     The allegations in Paragraph 53 constitute legal conclusions to which no response
                    17   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    18   in Paragraph 53.
                    19          54.     The allegations in Paragraph 54 constitute legal conclusions to which no response
                    20   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    21   in Paragraph 54.
                    22          C.      The Market for PPEs for Users of Encompass
                    23          55.     The allegations in Paragraph 55 constitute legal conclusions to which no response
                    24   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    25   in Paragraph 55.
                    26          56.     The allegations in the first sentence of Paragraph 56 constitute legal conclusions to
                    27   which no response is required. To the extent a response is required, Intercontinental Exchange
                    28   denies the allegations in the first sentence of Paragraph 56. Intercontinental Exchange lacks
MORGAN, LEWIS &                                                            13                      Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 14 of 46



                     1   sufficient knowledge or information regarding the vague or undefined terms “peculiar,”
                     2   “prohibitively expensive,” and “time-consuming,” and on that basis denies those allegations.
                     3   Intercontinental Exchange denies the remaining allegations in Paragraph 56.
                     4          57.     Intercontinental Exchange denies the allegations in Paragraph 57.
                     5          58.     The allegations in Paragraph 58 constitute legal conclusions to which no response
                     6   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                     7   in Paragraph 58.
                     8          59.     Certain of the allegations in Paragraph 59 purport to characterize, summarize, or
                     9   quote from selected portions of unidentified documents and/or transcripts, offered without
                    10   attribution or context. To the extent such documents and/or transcripts are identified,
                    11   Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                    12   statement of their contents. To the extent such documents and/or transcripts are unidentified,
                    13   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                    14   allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                    15   allegations in Paragraph 59.
                    16          60.     The allegations in Paragraph 60 constitute legal conclusions to which no response
                    17   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    18   in Paragraph 60.
                    19          61.     Intercontinental Exchange lacks sufficient knowledge or information regarding the
                    20   vague or undefined phrases “significant share” and “small share” and on that basis denies those
                    21   allegations. Intercontinental Exchange denies the remaining allegations in Paragraph 61.
                    22          D.      The PPE Market
                    23          62.     The allegations in Paragraph 62 constitute legal conclusions to which no response
                    24   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    25   in Paragraph 62.
                    26          63.     The allegations in the first sentence of Paragraph 63 constitute legal conclusions to
                    27   which no response is required. To the extent a response is required, Intercontinental Exchange
                    28   denies the allegations in the first sentence of Paragraph 63. Intercontinental Exchange lacks
MORGAN, LEWIS &                                                            14                      Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 15 of 46



                     1   sufficient knowledge or information regarding the vague or undefined term “peculiar,”
                     2   “functionality,” and “manually,” and on that basis denies those allegations. Certain of the
                     3   allegations in Paragraph 63 purport to characterize, summarize, or quote from selected portions of
                     4   unidentified documents and/or transcripts, offered without attribution or context. To the extent
                     5   such documents and/or transcripts are identified, Intercontinental Exchange refers to those
                     6   documents and/or transcripts for a true and complete statement of their contents. To the extent
                     7   such documents and/or transcripts are unidentified, Intercontinental Exchange lacks knowledge or
                     8   information sufficient to admit or deny those allegations, and on that basis denies them.
                     9   Intercontinental Exchange denies the remaining allegations in Paragraph 63.
                    10          64.     Intercontinental Exchange lacks sufficient knowledge or information to form a
                    11   belief regarding the general background allegations about PPEs, and on that basis denies them.
                    12   Intercontinental Exchange denies the remaining allegations in Paragraph 64.
                    13          65.     The allegations in Paragraph 65 constitute legal conclusions to which no response
                    14   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    15   in Paragraph 65.
                    16          66.     The allegations in Paragraph 66 constitute legal conclusions to which no response
                    17   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    18   in Paragraph 66.
                    19          67.     Intercontinental Exchange denies the allegations in Paragraph 67.
                    20          E.      The Relevant Geographic Market Is the United States
                    21          68.     The allegations in Paragraph 68 constitute legal conclusions to which no response
                    22   is required. To the extent a response is required, the allegations are denied.
                    23   VI.    MARKET CONCENTRATION AND THE ACQUISITION’S
                                PRESUMPTIVE ILLEGALITY
                    24

                    25          69.     The allegations in Paragraph 69 constitute legal conclusions to which no response
                    26   is required. To the extent a response is required, Intercontinental Exchange denies the allegations
                    27   in Paragraph 69.
                    28          70.     Certain of the allegations in Paragraph 70 purport to characterize, summarize, or
MORGAN, LEWIS &                                                           15                      Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 16 of 46



                     1   quote from selected portions of the Merger Guidelines. Intercontinental Exchange refers to the
                     2   Merger Guidelines for a true and complete statement of their contents. Additionally, the
                     3   allegations in Paragraph 70 constitute legal conclusions to which no response is required. To the
                     4   extent a response is required, Intercontinental Exchange denies the allegations in Paragraph 70.
                     5          71.     The first sentence of Paragraph 71 purports to characterize the Home Mortgage
                     6   Disclosure Act (the “HMDA”), and Intercontinental Exchange respectfully refers the Court to the
                     7   HMDA for a complete and accurate statement of its contents. To the extent the allegations set
                     8   forth in the first sentence of Paragraph 71 are inconsistent with the HMDA, Intercontinental
                     9   Exchange denies the allegations. The remaining allegations in Paragraph 71 are denied.
                    10          72.     The allegations in Paragraph 72 constitute legal conclusions to which no response
                    11   is required. To the extent a response is required, the allegations in Paragraph 72 are denied.
                    12          73.     The allegations in Paragraph 73 constitute legal conclusions to which no response
                    13   is required. To the extent a response is required, the allegations in Paragraph 73 are denied.
                    14          74.     The allegations in Paragraph 74 constitute legal conclusions to which no response
                    15   is required. To the extent a response is required, the allegations in Paragraph 74 are denied.
                    16          75.     The allegations in Paragraph 75 constitute legal conclusions to which no response
                    17   is required. To the extent a response is required, the allegations in Paragraph 75 are denied.
                    18
                         VII.   EVIDENCE OF REASONABLY PROBABLE ANTICOMPETITIVE EFFECTS
                    19
                                A.      Anticompetitive Effects in LOS Markets
                    20
                                76.     The allegations in Paragraph 76 constitute legal conclusions to which no response
                    21
                         is required. To the extent a response is required, the allegations in Paragraph 76 are denied.
                    22
                                77.     Intercontinental Exchange lacks knowledge or information sufficient to admit or
                    23
                         deny the allegations in Paragraph 77 regarding Black Knight, and on that basis denies them.
                    24
                         Intercontinental Exchange denies the remaining allegations in Paragraph 77.
                    25
                                78.     Intercontinental Exchange denies the allegation in the first sentence of Paragraph
                    26
                         78. The allegations in the second sentence of Paragraph 78 constitute legal conclusions to which
                    27
                         no response is required. To the extent a response is required, Intercontinental Exchange denies
                    28
MORGAN, LEWIS &                                               16                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 17 of 46



                     1   the allegations in the second sentence of Paragraph 78.
                     2                  i.     Intercontinental Exchange and Black Knight Are Each Other’s Closest
                                               Head-to-Head Competitors
                     3
                                79.     Certain of the allegations in Paragraph 79 purport to characterize, summarize, or
                     4
                         quote from selected portions of unidentified documents and/or transcripts, offered without
                     5
                         attribution or context. To the extent such documents and/or transcripts are identified,
                     6
                         Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                     7
                         statement of their contents. To the extent such documents and/or transcripts are unidentified,
                     8
                         Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                     9
                         allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                    10
                         allegations in Paragraph 79.
                    11
                                80.     Certain of the allegations in Paragraph 80 purport to characterize, summarize, or
                    12
                         quote from selected portions of unidentified documents and/or transcripts, offered without
                    13
                         attribution or context. To the extent such documents and/or transcripts are identified,
                    14
                         Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                    15
                         statement of their contents. To the extent such documents and/or transcripts are unidentified,
                    16
                         Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                    17
                         allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                    18
                         allegations in Paragraph 80.
                    19
                                81.     Certain of the allegations in Paragraph 81 purport to characterize, summarize, or
                    20
                         quote from selected portions of unidentified documents and/or transcripts, offered without
                    21
                         attribution or context. To the extent such documents and/or transcripts are identified,
                    22
                         Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                    23
                         statement of their contents. To the extent such documents and/or transcripts are unidentified,
                    24
                         Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                    25
                         allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                    26
                         allegations in Paragraph 81.
                    27
                                82.     Intercontinental Exchange lacks knowledge or information sufficient to admit or
                    28
MORGAN, LEWIS &                                               17                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 18 of 46



                     1   deny the allegations in Paragraph 82 regarding Black Knight, and on that basis denies them.
                     2          83.     Intercontinental Exchange denies the allegations in Paragraph 83.
                     3          84.     Intercontinental Exchange lacks knowledge or information sufficient to admit or
                     4   deny the allegations in Paragraph 84 regarding Black Knight, and on that basis denies them.
                     5   Certain of the allegations in Paragraph 84 purport to characterize, summarize, or quote from
                     6   selected portions of unidentified documents and/or transcripts, offered without attribution or
                     7   context. To the extent such documents and/or transcripts are identified, Intercontinental
                     8   Exchange refers to those documents and/or transcripts for a true and complete statement of their
                     9   contents. To the extent such documents and/or transcripts are unidentified, Intercontinental
                    10   Exchange lacks knowledge or information sufficient to admit or deny those allegations, and on
                    11   that basis denies them. Intercontinental Exchange denies the remaining allegations in Paragraph
                    12   84.
                    13                  ii.    There Is a Reasonable Probability That the Acquisition Will Eliminate
                                               LOS Price Competition Between Intercontinental Exchange and Black
                    14                         Knight
                    15          85.     Intercontinental Exchange denies the allegations in Paragraph 85.
                    16          86.     Intercontinental Exchange lacks knowledge or information sufficient to admit or
                    17   deny the allegations in Paragraph 86 regarding Black Knight, and on that basis denies them.
                    18   Certain of the allegations in Paragraph 86 purport to characterize, summarize, or quote from
                    19   selected portions of unidentified documents and/or transcripts, offered without attribution or
                    20   context. To the extent such documents and/or transcripts are identified, Intercontinental
                    21   Exchange refers to those documents and/or transcripts for a true and complete statement of their
                    22   contents. To the extent such documents and/or transcripts are unidentified, Intercontinental
                    23   Exchange lacks knowledge or information sufficient to admit or deny those allegations, and on
                    24   that basis denies them. Intercontinental Exchange denies the remaining allegations in Paragraph
                    25   86.
                    26          87.     Certain of the allegations in Paragraph 87 purport to characterize, summarize, or
                    27   quote from selected portions of unidentified documents and/or transcripts, offered without
                    28   attribution or context. To the extent such documents and/or transcripts are identified,
MORGAN, LEWIS &                                                          18                       Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 19 of 46



                     1   Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                     2   statement of their contents. To the extent such documents and/or transcripts are unidentified,
                     3   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                     4   allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                     5   allegations in Paragraph 87.
                     6                  iii.    There Is a Reasonable Probability That the Acquisition Will Eliminate
                                                Competition for LOS Features and Integrations
                     7
                                88.     Intercontinental Exchange denies the allegations in Paragraph 88.
                     8
                                89.     Intercontinental Exchange lacks knowledge or information sufficient to admit or
                     9
                         deny the allegations in Paragraph 89 regarding Black Knight, and on that basis denies them.
                    10
                         Intercontinental Exchange denies the remaining allegations in Paragraph 89.
                    11
                                90.     Intercontinental Exchange lacks knowledge or information sufficient to admit or
                    12
                         deny the allegations in Paragraph 90 regarding Black Knight, and on that basis denies them.
                    13
                                91.     Certain of the allegations in Paragraph 91 purport to characterize, summarize, or
                    14
                         quote from selected portions of unidentified documents and/or transcripts, offered without
                    15
                         attribution or context. To the extent such documents and/or transcripts are identified,
                    16
                         Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                    17
                         statement of their contents. To the extent such documents and/or transcripts are unidentified,
                    18
                         Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                    19
                         allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                    20
                         allegations in Paragraph 91.
                    21
                                92.     The allegations in Paragraph 92 constitute legal conclusions to which no response
                    22
                         is required. To the extent a response is required, the allegations in Paragraph 92 are denied.
                    23
                                B.      Anticompetitive Effects in PPE Markets
                    24
                                93.     The allegations in Paragraph 93 constitute legal conclusions to which no response
                    25
                         is required. To the extent a response is required, the allegations in Paragraph 93 are denied.
                    26
                                94.     Intercontinental Exchange denies the allegations in Paragraph 94.
                    27
                                95.     Certain of the allegations in Paragraph 95 purport to characterize, summarize, or
                    28
MORGAN, LEWIS &                                               19                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 20 of 46



                     1   quote from selected portions of unidentified documents and/or transcripts, offered without
                     2   attribution or context. To the extent such documents and/or transcripts are identified,
                     3   Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                     4   statement of their contents. To the extent such documents and/or transcripts are unidentified,
                     5   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                     6   allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                     7   allegations in Paragraph 95.
                     8          96.     Certain of the allegations in Paragraph 96 purport to characterize, summarize, or
                     9   quote from selected portions of unidentified documents and/or transcripts, offered without
                    10   attribution or context. To the extent such documents and/or transcripts are identified,
                    11   Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                    12   statement of their contents. To the extent such documents and/or transcripts are unidentified,
                    13   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                    14   allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                    15   allegations in Paragraph 96.
                    16                  i.      There Is a Reasonable Probability That the Acquisition Will Eliminate
                                                Head-to-Head PPE Competition Between Intercontinental Exchange
                    17                          and Black Knight
                    18          97.     The allegations in Paragraph 97 constitute legal conclusions to which no response
                    19   is required. To the extent a response is required, the allegations in Paragraph 97 are denied.
                    20          98.     Intercontinental Exchange lacks knowledge or information sufficient to admit or
                    21   deny the allegations in Paragraph 98 regarding Black Knight, and on that basis denies them.
                    22   Certain of the allegations in Paragraph 98 purport to characterize, summarize, or quote from
                    23   selected portions of unidentified documents and/or transcripts, offered without attribution or
                    24   context. To the extent such documents and/or transcripts are identified, Intercontinental
                    25   Exchange refers to those documents and/or transcripts for a true and complete statement of their
                    26   contents. To the extent such documents and/or transcripts are unidentified, Intercontinental
                    27   Exchange lacks knowledge or information sufficient to admit or deny those allegations, and on
                    28   that basis denies them. Intercontinental Exchange denies the remaining allegations in Paragraph
MORGAN, LEWIS &                                                         20                      Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 21 of 46



                     1   98.
                     2          99.     The allegations in Paragraph 99 constitute legal conclusions to which no response
                     3   is required. To the extent a response is required, the allegations in Paragraph 99 are denied.
                     4          100.    Intercontinental Exchange denies the allegations in Paragraph 100.
                     5          101.    Intercontinental Exchange admits only the second sentence of Paragraph 101.
                     6   Intercontinental Exchange denies the remaining allegations in Paragraph 101.
                     7          102.    Intercontinental Exchange lacks knowledge or information sufficient to admit or
                     8   deny the allegations in Paragraph 102 regarding Black Knight, and on that basis denies them.
                     9          103.    Intercontinental Exchange lacks knowledge or information sufficient to admit or
                    10   deny the allegations in Paragraph 103 regarding Black Knight, and on that basis denies them.
                    11          104.    Intercontinental Exchange lacks knowledge sufficient or information to admit or
                    12   deny the allegations in Paragraph 104 regarding Black Knight, and on that basis denies them.
                    13   Certain of the allegations in Paragraph 104 purport to characterize, summarize, or quote from
                    14   selected portions of unidentified documents and/or transcripts, offered without attribution or
                    15   context. To the extent such documents and/or transcripts are identified, Intercontinental
                    16   Exchange refers to those documents and/or transcripts for a true and complete statement of their
                    17   contents. To the extent such documents and/or transcripts are unidentified, Intercontinental
                    18   Exchange lacks knowledge or information sufficient to admit or deny those allegations, and on
                    19   that basis denies them. Intercontinental Exchange denies the remaining allegations in Paragraph
                    20   104.
                    21          105.    Intercontinental Exchange lacks knowledge or information sufficient to admit or
                    22   deny the allegations in Paragraph 105 regarding Black Knight, and on that basis denies them.
                    23   Certain of the allegations in Paragraph 105 purport to characterize, summarize, or quote from
                    24   selected portions of unidentified documents and/or transcripts, offered without attribution or
                    25   context. To the extent such documents and/or transcripts are identified, Intercontinental
                    26   Exchange refers to those documents and/or transcripts for a true and complete statement of their
                    27   contents. To the extent such documents and/or transcripts are unidentified, Intercontinental
                    28   Exchange lacks knowledge or information sufficient to admit or deny those allegations, and on
MORGAN, LEWIS &                                                       21                       Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 22 of 46



                     1   that basis denies them. Intercontinental Exchange denies the remaining allegations in Paragraph
                     2   105.
                     3          106.    Intercontinental Exchange lacks knowledge or information sufficient to admit or
                     4   deny the allegations in Paragraph 106 regarding Black Knight, and on that basis denies them.
                     5   Certain of the allegations in Paragraph 106 purport to characterize, summarize, or quote from
                     6   selected portions of unidentified documents and/or transcripts, offered without attribution or
                     7   context. To the extent such documents and/or transcripts are identified, Intercontinental
                     8   Exchange refers to those documents and/or transcripts for a true and complete statement of their
                     9   contents. To the extent such documents and/or transcripts are unidentified, Intercontinental
                    10   Exchange lacks knowledge or information sufficient to admit or deny those allegations, and on
                    11   that basis denies them. Intercontinental Exchange denies the remaining allegations in Paragraph
                    12   106.
                    13          107.    Certain of the allegations in Paragraph 107 purport to characterize, summarize, or
                    14   quote from selected portions of unidentified documents and/or transcripts, offered without
                    15   attribution or context. To the extent such documents and/or transcripts are identified,
                    16   Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                    17   statement of their contents. To the extent such documents and/or transcripts are unidentified,
                    18   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                    19   allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                    20   allegations in Paragraph 107.
                    21          108.    Certain of the allegations in Paragraph 108 purport to characterize, summarize, or
                    22   quote from selected portions of unidentified documents and/or transcripts, offered without
                    23   attribution or context. To the extent such documents and/or transcripts are identified,
                    24   Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                    25   statement of their contents. To the extent such documents and/or transcripts are unidentified,
                    26   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                    27   allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                    28   allegations in Paragraph 108.
MORGAN, LEWIS &                                               22                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 23 of 46



                     1          109.    Certain of the allegations in Paragraph 109 purport to characterize, summarize, or
                     2   quote from selected portions of unidentified documents and/or transcripts, offered without
                     3   attribution or context. To the extent such documents and/or transcripts are identified,
                     4   Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                     5   statement of their contents. To the extent such documents and/or transcripts are unidentified,
                     6   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                     7   allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                     8   allegations in Paragraph 109.
                     9          110.    Certain of the allegations in Paragraph 110 purport to characterize, summarize, or
                    10   quote from selected portions of unidentified documents and/or transcripts, offered without
                    11   attribution or context. To the extent such documents and/or transcripts are identified,
                    12   Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                    13   statement of their contents. To the extent such documents and/or transcripts are unidentified,
                    14   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                    15   allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                    16   allegations in Paragraph 110.
                    17          111.    Intercontinental Exchange admits that on May 4, 2022, Intercontinental Exchange
                    18   announced its agreement to acquire Black Knight. Certain of the allegations in Paragraph 111
                    19   purport to characterize, summarize, or quote from selected portions of unidentified documents
                    20   and/or transcripts, offered without attribution or context. To the extent such documents and/or
                    21   transcripts are identified, Intercontinental Exchange refers to those documents and/or transcripts
                    22   for a true and complete statement of their contents. To the extent such documents and/or
                    23   transcripts are unidentified, Intercontinental Exchange lacks knowledge or information sufficient
                    24   to admit or deny those allegations, and on that basis denies them. Intercontinental Exchange
                    25   denies the remaining allegations in Paragraph 111.
                    26          112.    The allegations in Paragraph 112 constitute legal conclusions to which no response
                    27   is required. To the extent a response is required, the allegations are denied.
                    28          113.    Intercontinental Exchange denies the allegations in Paragraph 113.
MORGAN, LEWIS &                                                         23                       Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 24 of 46



                     1                  ii.     There Is a Reasonable Probability That the Acquisition Will Increase
                                                Intercontinental Exchange’s Ability and Incentive to Foreclose
                     2                          Competition from Other PPE Providers
                     3          114.    The allegations in Paragraph 114 constitute legal conclusions to which no response

                     4   is required. To the extent a response is required, the allegations are denied. Intercontinental

                     5   Exchange lacks knowledge or information sufficient to admit or deny the allegations in Paragraph

                     6   106 regarding Black Knight, and on that basis denies them.

                     7                          a.       Intercontinental Exchange Can Disadvantage PPE Competitors
                                                         by Degrading or Restricting LOS Integration
                     8
                                115.    Intercontinental Exchange lacks sufficient knowledge or information to form a
                     9
                         belief regarding the general background allegations about PPEs and denies any allegations
                    10
                         relating thereto, and on that basis denies those allegations. Intercontinental Exchange denies the
                    11
                         remaining allegations in Paragraph 115.
                    12
                                116.    Intercontinental Exchange lacks sufficient knowledge or information regarding the
                    13
                         characterization of lenders, PPEs, and PPE providers generally, and on that basis denies those
                    14
                         allegations. Intercontinental Exchange denies the remaining allegations in Paragraph 116.
                    15
                                117.    Intercontinental Exchange denies the allegations in Paragraph 117.
                    16
                                118.    Certain of the allegations in Paragraph 118 purport to characterize, summarize, or
                    17
                         quote from selected portions of unidentified documents and/or transcripts, offered without
                    18
                         attribution or context. To the extent such documents and/or transcripts are identified,
                    19
                         Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                    20
                         statement of their contents. To the extent such documents and/or transcripts are unidentified,
                    21
                         Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                    22
                         allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                    23
                         allegations in Paragraph 118.
                    24
                                119.    Intercontinental Exchange lacks knowledge or information sufficient to admit or
                    25
                         deny the allegations in Paragraph 119 regarding Black Knight, and on that basis denies them.
                    26
                                120.    Intercontinental Exchange denies the allegations in Paragraph 120.
                    27
                                121.    Certain of the allegations in Paragraph 121 purport to characterize, summarize, or
                    28
MORGAN, LEWIS &                                               24                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 25 of 46



                     1   quote from selected portions of unidentified documents and/or transcripts, offered without
                     2   attribution or context. To the extent such documents and/or transcripts are identified,
                     3   Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                     4   statement of their contents. To the extent such documents and/or transcripts are unidentified,
                     5   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                     6   allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                     7   allegations in Paragraph 121.
                     8          122.    Certain of the allegations in Paragraph 122 purport to characterize, summarize, or
                     9   quote from selected portions of unidentified documents and/or transcripts, offered without
                    10   attribution or context. To the extent such documents and/or transcripts are identified,
                    11   Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                    12   statement of their contents. To the extent such documents and/or transcripts are unidentified,
                    13   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                    14   allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                    15   allegations in Paragraph 122.
                    16          123.    Certain of the allegations in Paragraph 123 purport to characterize, summarize, or
                    17   quote from selected portions of unidentified documents and/or transcripts, offered without
                    18   attribution or context. To the extent such documents and/or transcripts are identified,
                    19   Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                    20   statement of their contents. To the extent such documents and/or transcripts are unidentified,
                    21   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                    22   allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                    23   allegations in Paragraph 123.
                    24                         b.        Post-Acquisition, Intercontinental Exchange Will Have a
                                                         Greater Incentive to Foreclose Competition for PPEs
                    25
                                124.    The allegations in Paragraph 124 constitute legal conclusions to which no response
                    26
                         is required. To the extent a response is required, the allegations in Paragraph 124 are denied.
                    27
                                125.    Certain of the allegations in Paragraph 125 purport to characterize, summarize, or
                    28
MORGAN, LEWIS &                                               25                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 26 of 46



                     1   quote from selected portions of unidentified documents and/or transcripts, offered without
                     2   attribution or context. To the extent such documents and/or transcripts are identified,
                     3   Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                     4   statement of their contents. To the extent such documents and/or transcripts are unidentified,
                     5   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                     6   allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                     7   allegations in Paragraph 125.
                     8          126.    The allegations in Paragraph 126 constitute legal conclusions to which no response
                     9   is required. To the extent a response is required, the allegations are denied. Certain of the
                    10   allegations in Paragraph 126 purport to characterize, summarize, or quote from selected portions
                    11   of unidentified documents and/or transcripts, offered without attribution or context. To the extent
                    12   such documents and/or transcripts are identified, Intercontinental Exchange refers to those
                    13   documents and/or transcripts for a true and complete statement of their contents. To the extent
                    14   such documents and/or transcripts are unidentified, Intercontinental Exchange lacks knowledge or
                    15   information sufficient to admit or deny those allegations, and on that basis denies them.
                    16   Intercontinental Exchange denies the remaining allegations in Paragraph 126.
                    17          127.    Certain of the allegations in Paragraph 127 purport to characterize, summarize, or
                    18   quote from selected portions of unidentified documents and/or transcripts, offered without
                    19   attribution or context. To the extent such documents and/or transcripts are identified,
                    20   Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                    21   statement of their contents. To the extent such documents and/or transcripts are unidentified,
                    22   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                    23   allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                    24   allegations in Paragraph 127.
                    25          128.    Intercontinental Exchange denies the allegations in Paragraph 128.
                    26          C.      Anticompetitive Effects in Other Relevant Antitrust Markets for Ancillary
                                        Services
                    27
                                129.    Intercontinental Exchange denies the allegations in Paragraph 129.
                    28
MORGAN, LEWIS &                                               26                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 27 of 46



                     1          130.    Intercontinental Exchange denies the allegations in Paragraph 130.
                     2          131.    Intercontinental Exchange denies the allegations in Paragraph 130.
                     3          132.    Intercontinental Exchange lacks knowledge or information sufficient to admit or
                     4   deny the allegations in Paragraph 132 regarding Black Knight, and on that basis denies them.
                     5   Intercontinental Exchange denies the remaining allegations in Paragraph 132.
                     6          133.    Intercontinental Exchange lacks knowledge or information sufficient to admit or
                     7   deny the allegations in Paragraph 133 regarding Black Knight, and on that basis denies them.
                     8   Intercontinental Exchange denies the remaining allegations in Paragraph 133.
                     9   VIII. LACK OF COUNTERVAILING FACTORS
                    10          134.    The allegations in Paragraph 134 constitute legal conclusions to which no response
                    11   is required. To the extent a response is required, the allegations in Paragraph 134 are denied.
                    12          135.    The allegations in the first two sentences of Paragraph 135 constitute legal
                    13   conclusions to which no response is required. To the extent a response is required, the allegations
                    14   in the first two sentences of Paragraph 135 are denied. Intercontinental Exchange lacks
                    15   knowledge or information sufficient to admit or deny the allegations in the third sentence of
                    16   Paragraph 135 regarding Black Knight, and on that basis denies them.
                    17          136.    Intercontinental Exchange lacks knowledge or information sufficient to admit or
                    18   deny the allegations in Paragraph 136 regarding Black Knight, and on that basis denies them.
                    19   Certain of the allegations in Paragraph 136 purport to characterize, summarize, or quote from
                    20   selected portions of unidentified documents and/or transcripts, offered without attribution or
                    21   context. To the extent such documents and/or transcripts are identified, Intercontinental
                    22   Exchange refers to those documents and/or transcripts for a true and complete statement of their
                    23   contents. To the extent such documents and/or transcripts are unidentified, Intercontinental
                    24   Exchange lacks knowledge or information sufficient to admit or deny those allegations, and on
                    25   that basis denies them. Intercontinental Exchange denies the remaining allegations in Paragraph
                    26   136.
                    27          137.    Certain of the allegations in Paragraph 137 purport to characterize, summarize, or
                    28   quote from selected portions of unidentified documents and/or transcripts, offered without
MORGAN, LEWIS &                                                          27                      Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 28 of 46



                     1   attribution or context. To the extent such documents and/or transcripts are identified,
                     2   Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                     3   statement of their contents. To the extent such documents and/or transcripts are unidentified,
                     4   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                     5   allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                     6   allegations in Paragraph 137.
                     7          138.    The first sentence of Paragraph 138 contains legal conclusions to which no
                     8   response is required. To the extent a response is required, the allegations in the first sentence of
                     9   Paragraph 138 are denied. Intercontinental Exchange denies the remaining allegations in
                    10   Paragraph 138.
                    11          139.    The first sentence of Paragraph 139 contains legal conclusions to which no
                    12   response is required. To the extent a response is required, the allegations in the first sentence of
                    13   Paragraph 139 are denied. Intercontinental Exchange denies the remaining allegations in
                    14   Paragraph 139.
                    15          140.    The first sentence of Paragraph 140 contains legal conclusions to which no
                    16   response is required. To the extent a response is required, the allegations in the first sentence of
                    17   Paragraph 140 are denied. Intercontinental Exchange lacks knowledge or information sufficient
                    18   to admit or deny the allegations in Paragraph 140 regarding Black Knight, and on that basis
                    19   denies them. Certain of the allegations in Paragraph 140 purport to characterize, summarize, or
                    20   quote from selected portions of unidentified documents and/or transcripts, offered without
                    21   attribution or context. To the extent such documents and/or transcripts are identified,
                    22   Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                    23   statement of their contents. To the extent such documents and/or transcripts are unidentified,
                    24   Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                    25   allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                    26   allegations in Paragraph 140.
                    27          141.    Intercontinental Exchange denies the allegations in Paragraph 141.
                    28          142.    Intercontinental Exchange lacks knowledge or information sufficient to admit or
MORGAN, LEWIS &                                                         28                     Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 29 of 46



                     1   deny the allegations in Paragraph 142 regarding Black Knight, and on that basis denies them.
                     2   Certain of the allegations in Paragraph 142 purport to characterize, summarize, or quote from
                     3   selected portions of unidentified documents and/or transcripts, offered without attribution or
                     4   context. To the extent such documents and/or transcripts are identified, Intercontinental
                     5   Exchange refers to those documents and/or transcripts for a true and complete statement of their
                     6   contents. To the extent such documents and/or transcripts are unidentified, Intercontinental
                     7   Exchange lacks knowledge or information sufficient to admit or deny those allegations, and on
                     8   that basis denies them. Intercontinental Exchange denies the remaining allegations in Paragraph
                     9   142.
                    10          143.    The allegations in Paragraph 143 constitute legal conclusions to which no response
                    11   is required. To the extent a response is required, the allegations in Paragraph 143 are denied.
                    12   IX.    DEFENDANTS’ PROPOSED REMEDY WILL NOT FIX
                                THE ACQUISITION’S ANTICOMPETITIVE EFFECTS
                    13
                                144.    Intercontinental Exchange admits only that Intercontinental Exchange and Black
                    14
                         Knight have signed a definitive agreement to divest Empower to Constellation as part of the
                    15
                         proposed transaction. Certain of the allegations in Paragraph 144 purport to characterize,
                    16
                         summarize, or quote from selected portions of unidentified documents and/or transcripts, offered
                    17
                         without attribution or context. To the extent such documents and/or transcripts are identified,
                    18
                         Intercontinental Exchange refers to those documents and/or transcripts for a true and complete
                    19
                         statement of their contents. To the extent such documents and/or transcripts are unidentified,
                    20
                         Intercontinental Exchange lacks knowledge or information sufficient to admit or deny those
                    21
                         allegations, and on that basis denies them. Intercontinental Exchange denies the remaining
                    22
                         allegations in Paragraph 144.
                    23
                                145.    The allegations in Paragraph 145 constitute legal conclusions to which no response
                    24
                         is required. To the extent a response is required, the allegations in Paragraph 145 are denied.
                    25
                         X.     LIKELIHOOD OF SUCCESS ON THE MERITS,
                    26          BALANCE OF EQUITIES, AND NEED FOR RELIEF
                    27          146.    The allegations in Paragraph 146 constitute legal conclusions to which no response
                    28   is required. To the extent a response is required, the allegations in Paragraph 146 are denied.
MORGAN, LEWIS &                                                           29                        Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 30 of 46



                     1          147.    Intercontinental Exchange denies the allegations contained in Paragraph 147.
                     2          148.    Intercontinental Exchange denies the allegations in Paragraph 148.
                     3          149.    Intercontinental Exchange denies the first sentence of Paragraph 149. The
                     4   remainder of Paragraph 149 is a request for relief to which no response is required. To the extent
                     5   a response is required, Intercontinental Exchange denies that the FTC is entitled to the relief
                     6   requested in Paragraph 149.
                     7                             AFFIRMATIVE AND OTHER DEFENSES
                     8          Intercontinental Exchange asserts the following defenses with respect to the causes of
                     9   action alleged in the Complaint, without assuming the burden of proof or persuasion where such
                    10   burden rests on the FTC. Intercontinental Exchange has not knowingly or intentionally waived
                    11   any applicable defenses, and it reserves the right to assert and rely upon other applicable defenses
                    12   that may become available or apparent throughout the course of the action. Intercontinental
                    13   Exchange reserves the right to amend, or seek to amend, its Answer, including its affirmative and
                    14   other defenses.
                                                                FIRST DEFENSE
                    15                           (Structure of Proceedings Violates Due Process)
                    16          The structure of the related administrative proceedings, in which the Commission both
                    17   initiates and finally adjudicates the Complaint against Intercontinental Exchange, having
                    18   prejudged the merits of the action, violates Intercontinental Exchange’s Fifth Amendment Due
                    19   Process right to adjudication before a neutral arbiter.
                    20
                                                            SECOND DEFENSE
                    21                           (Commission’s Procedures Violate Due Process)
                                The Commission’s procedures violate Intercontinental Exchange’s right to procedural due
                    22
                         process under the Due Process Clause of the Fifth Amendment.
                    23

                    24                                       THIRD DEFENSE
                                           (Commission’s Procedures Violate Equal Protection Clause)
                    25          The Commission’s procedures arbitrarily subject Intercontinental Exchange to
                    26   administrative proceedings rather than to proceedings before an Article III judge in violation of
                    27   Intercontinental Exchange’s right to Equal Protection under the Fifth Amendment.
                    28
MORGAN, LEWIS &                                               30                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 31 of 46



                     1                                      FOURTH DEFENSE
                                         (Constraints on Removal Violate Article II of the Constitution)
                     2
                                 The related administrative proceedings are invalid because the constraints on removal of
                     3
                         the Commissioners and the Administrative Law Judge violate Article II of the Constitution and
                     4
                         the separation of powers.
                     5
                                                                FIFTH DEFENSE
                     6                          (Delegation of Legislative Power Unconstitutional)
                     7           The related administrative proceedings are invalid because Congress unconstitutionally

                     8   delegated legislative power to the Commission by failing to provide an intelligible principle by

                     9   which the Commission would exercise the delegated power.

                    10                                           SIXTH DEFENSE
                                                          (Violation of Fifth Amendment)
                    11
                                 Granting the relief sought would constitute a taking of Intercontinental Exchange’s
                    12
                         property in violation of the Fifth Amendment to the Constitution.
                    13
                                                              SEVENTH DEFENSE
                    14                                  (Violation of Seventh Amendment)
                    15           The adjudication of the Complaint against Intercontinental Exchange through the related

                    16   administrative proceedings violates Intercontinental Exchange’s Seventh Amendment right to a

                    17   jury trial.

                    18                                         EIGHTH DEFENSE
                                                 (Violation of Article III of the U.S. Constitution)
                    19
                                 The adjudication of the Complaint against Intercontinental Exchange through the related
                    20
                         administrative proceedings adjudicates private rights and therefore violates Article III of the U.S.
                    21
                         Constitution and the Seventh Amendment.
                    22
                                                                NINTH DEFENSE
                    23                                       (Failure to State a Claim)
                    24           The Complaint fails to state a claim upon which relief can be granted, including, but not

                    25   limited to, on the basis that: (1) new entrants to the relevant market were (and are) timely, likely,

                    26   and sufficient to offset any alleged anticompetitive effects of the Transaction; (2) the alleged

                    27   market definitions fail as a matter of both fact and law; (3) the Complaint fails to allege any

                    28   plausible harm to competition, consumers, or consumer welfare; (4) the Complaint fails to allege
MORGAN, LEWIS &                                               31                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 32 of 46



                     1   undue share in any plausibly defined relevant market; and (5) any alleged harm to potential
                     2   competition is not actionable.
                     3                                           TENTH DEFENSE
                                                                (No Antitrust Injury)
                     4
                                The Complaint fails to establish actual, cognizable antitrust injury of the type antitrust
                     5
                         laws are intended to remedy.
                     6
                                                              ELEVENTH DEFENSE
                     7                                     (Transaction Is Not Unlawful)
                     8          The Transaction does not violate the antitrust laws because: (1) the Transaction is
                     9   procompetitive, and will result in merger-specific efficiencies, cost synergies, product-quality
                    10   improvements, and other procompetitive effects that benefit consumers. The benefits outweigh
                    11   any alleged anticompetitive effects; (2) the combination of Respondents’ businesses is not likely
                    12   to substantially lessen competition under the analytical framework set forth in the Merger
                    13   Guidelines promulgated by the FTC and Department of Justice; and (3) Intercontinental
                    14   Exchange and Black Knight’s agreement with Constellation to divest Empower as well as certain
                    15   other products to Constellation would address any purported anticompetitive effects alleged in the
                    16   Complaint and, consistent with Section 7 of the Clayton Act, 15 U.S.C. § 18, and the decision in
                    17   United States v. UnitedHealth Grp. Inc., No. 1:22-cv-0481, 2022 WL 4365867, at *9 (D.D.C.
                    18   Sept. 21, 2022), it is inappropriate to consider the transaction in the absence of the divestiture.
                    19                                         TWELFTH DEFENSE
                                                                 (Public Interest)
                    20
                                Neither the filing of this Complaint nor the contemplated relief is in the public interest,
                    21
                         pursuant to 15 U.S.C. § 45.
                    22
                                     RESERVATION OF RIGHTS TO ASSERT ADDITIONAL DEFENSES
                    23
                                Intercontinental Exchange has not knowingly or intentionally waived any applicable
                    24
                         defenses, and it reserves the right to assert and rely upon other applicable defenses that may
                    25
                         become available or apparent throughout the course of the action. Intercontinental Exchange
                    26
                         reserves the right to amend, or seek to amend, its Answer, including its affirmative and other
                    27
                         defenses.
                    28
MORGAN, LEWIS &                                               32                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 33 of 46



                     1                                           COUNTERCLAIMS
                     2           Defendant Intercontinental Exchange, Inc. (“Intercontinental Exchange”), by and through
                     3   its undersigned attorneys, seeks the following counterclaims against Plaintiff Federal Trade
                     4   Commission (“Plaintiff” or “FTC”).
                     5                                       NATURE OF THE ACTION
                     6           1.      Intercontinental Exchange challenges the unconstitutional structure and processes
                     7   employed by the FTC to prohibit lawful acquisitions. The FTC possesses the power to not only
                     8   prosecute cases, but to judge them as well. Yet the FTC’s Administrative Law Judges (“ALJs”)
                     9   exercise near-total protection from political accountability because they are subject to neither
                    10   democratic election nor at-will removal by the President. Instead, they have “dual layers” of
                    11   removal protection because they are only removable by Commissioners “for cause”, who, in turn,
                    12   are only removable by the President “for cause.”
                    13           2.      In the related proceeding instituted against Intercontinental Exchange, the FTC has
                    14   not only charged and prosecuted the case but has also appointed an ALJ. And if the FTC
                    15   disagrees with the ALJ’s ultimate decision on either the facts or the law, the same Commissioners
                    16   who voted to file the enforcement action against Intercontinental Exchange have the right to
                    17   review these findings de novo and change them. A former FTC Commissioner has described this
                    18   procedure as an “unhealthy and biased institutional process” that virtually guarantees the
                    19   agency’s result will stand. See Joshua D. Wright, Section 5 Revisited: Time for the FTC to
                    20   Define the Scope of Its Unfair Methods of Competition Authority at 6 (2015).
                    21           3.      This process also involves the adjudication of private rights. Particularly, the
                    22   parties’ ability to engage in a private commercial transaction and the risk that the parties will have
                    23   to pay a fine to the FTC. Such an adjudication is the exclusive province of Article III courts
                    24   where the parties may also be able to assert their Seventh Amendment right to a trial by jury.
                    25           4.      This Court should declare the FTC’s structure and procedures unconstitutional.
                    26   And it should enjoin the FTC from subjecting Intercontinental Exchange to its unfair and
                    27   unconstitutional internal forum, adjudicating the legality of Intercontinental Exchange’s
                    28   acquisition in this Article III court instead.
MORGAN, LEWIS &                                               33                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 34 of 46



                     1                                             THE PARTIES
                     2          5.      Counterclaim Defendant FTC is an administrative agency of the United States
                     3   Government, established, organized, and existing pursuant to the FTC Act, 15 U.S.C. § 45, and is
                     4   authorized under certain circumstances by Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), to
                     5   initiate court proceedings to enjoin ongoing or imminent violations of any law the FTC enforces.
                     6          6.      Counterclaim Plaintiff Intercontinental Exchange is a publicly traded corporation
                     7   incorporated in Delaware, with its headquarters in Atlanta, Georgia. Intercontinental Exchange
                     8   provides market infrastructure, data services, and technology solutions in three segments:
                     9   exchanges, fixed income and data services, and mortgage technology.
                    10                                    JURISDICTION AND VENUE
                    11          7.      This action arises under the Constitution and laws of the United States, and this
                    12   Court has federal question jurisdiction over this action pursuant to Article III of the Constitution
                    13   and 28 U.S.C. § 1331.
                    14          8.      Counterclaim Plaintiff’s right to immediate judicial review in this Court with
                    15   respect to Counterclaim Defendants’ alleged conduct is based on the Due Process Clause of the
                    16   Fifth Amendment, Article III of the Constitution, the Seventh Amendment, and the Federal
                    17   Declaratory Judgment Act, 28 U.S.C. § 2201.
                    18          9.      Venue is proper under 5 U.S.C. § 703 and 28 U.S.C. § 1391(b), (c), and (e).
                    19                                     FACTUAL BACKGROUND
                    20          A.      The Constitutional Infirmities Associated with the Government Merger
                                        Review Process
                    21
                                10.     Both the FTC and the Department of Justice (“DOJ”) review mergers and
                    22
                         acquisitions that may present substantive antitrust concerns. Section 7 of the Clayton Act,
                    23
                         codified at 15 U.S.C. § 18, prohibits mergers and acquisitions where the “effect . . . may be
                    24
                         substantially to lessen competition” or “tend to create a monopoly.” As relevant here, the FTC’s
                    25
                         authority is based on Section 13(b) of the FTC Act.
                    26
                                11.     The government employs an impermissibly arbitrary approach to deciding whether
                    27
                         the FTC or DOJ will lead a given investigation, despite the consequences that decision carries for
                    28
MORGAN, LEWIS &                                               34                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 35 of 46



                     1   regulated parties. DOJ-led proceedings occur in federal court. By contrast, the FTC may pursue
                     2   proceedings before itself, where an ALJ presides over a hearing lacking the stringent evidentiary
                     3   and procedural rules of federal court, see 16 C.F.R. §§ 3.21-.43. Further, federal courts may
                     4   apply different standards of review depending on where the case originated. Compare Fed. R.
                     5   Civ. P. 52(a)(6) with 15 U.S.C. §§ 21(c), 45(c).
                     6          12.     The FTC’s and DOJ’s process lacks standards and does not provide citizens with
                     7   necessary Due Process safeguards. See Beckles v. United States, 137 S. Ct. 886, 892 (2017)
                     8   (government cannot deprive property under law “so standardless that it invites arbitrary
                     9   enforcement”); Fuentes v. Shevin, 407 U.S. 67, 80 (1972). The arbitrary manner in which the
                    10   FTC and DOJ determine parties’ procedural rights also violates Equal Protection, cf. Williams v.
                    11   Vermont, 472 U.S. 14, 22-23 (1985) (“arbitrary distinction” among taxpayers violates equal
                    12   protection), and impermissibly delegates to the agencies legislative powers that belong
                    13   exclusively to Congress, cf. Jarkesy v. SEC, 34 F.4th 446, 459 (5th Cir. 2022) (SEC’s ability to
                    14   assign matters to agency adjudication without intelligible principle violates the nondelegation
                    15   doctrine). The FTC’s discretion to sue in federal court or its own tribunal (or both), afforded it by
                    16   Congress without the requisite intelligible principle to guide its exercise, likewise violates the
                    17   nondelegation doctrine. Mistretta v. United States, 488 U.S. 361, 372 (1989) (Congress can
                    18   delegate its Article 1 legislative powers to another entity only if it provides an “intelligible”
                    19   principle by which to exercise that power); Crowell v. Benson, 285 U.S. 22, 50 (1932) (“[T]he
                    20   mode of determining” which cases are assigned to administrative tribunals is “completely within
                    21   congressional control.”); Jarkesy, 34 F.4th at 462 (providing the SEC with broad “power to
                    22   decide which defendants should receive certain legal processes (those accompanying Article III
                    23   proceedings)” violated the nondelegation doctrine).
                    24          13.     Moreover, the FTC’s internal administrative hearing provides none of the
                    25   substantive or procedural protections enjoyed by litigants in federal district court. These
                    26   proceedings are, instead, fraught with Due Process and Equal Protection deficiencies.
                    27           •      Federal district court judges are Article III impartial fact-finders who owe no
                    28                  allegiances to the agency. In contrast, any FTC Commissioner (including those
MORGAN, LEWIS &                                                          35                   Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 36 of 46



                     1                  who voted to sue Intercontinental Exchange and Black Knight) is permitted to
                     2                  preside over the administrative hearing; and an ALJ appointed by and
                     3                  compensated by the FTC will preside.
                     4           •      Federal court proceedings are governed by the Federal Rules of Evidence and
                     5                  Federal Rules of Civil Procedure. Neither apply in FTC administrative
                     6                  proceedings.
                     7           •      Litigants in federal court can appeal adverse decisions to impartial circuit court
                     8                  judges. Decisions rendered in FTC administrative proceedings must first be
                     9                  appealed to the same FTC Commissioners who voted to sue the defendant at the
                    10                  outset, raising inherent concerns about proper review and opening the potential for
                    11                  bias to reach an end result.
                    12           •      The FTC Commissioners, on appeal, can ignore and completely change the merits
                    13                  decision rendered in the administrative proceedings before the defendant appeals
                    14                  to the circuit court. See, e.g., Opinion of the Commission, In the Matter of
                    15                  Illumina, Inc., a corporation, and GRAIL, Inc., a corporation, Docket No. 9401
                    16                  (April 3, 2023) (opinion of the FTC reversing ALJ’s finding that Complaint
                    17                  Counsel failed to prove that a substantial lessening of competition was probable or
                    18                  imminent).
                    19           •      Different appellate standards of review may apply depending on where the case
                    20                  originated. On appeal from agency proceedings, “[t]he findings of the
                    21                  Commission as to the facts, if supported by evidence, shall be conclusive.” 15
                    22                  U.S.C. § 45(c).
                    23          14.     The nature of administrative hearings at the FTC and the limited review of its
                    24   factual findings on appeal means the results can be preordained. As one court noted, the “FTC
                    25   has not lost a single case [in administrative proceedings] in the past quarter-century. Even the
                    26   1972 Miami Dolphins would envy that type of record.” Axon Enter., Inc. v. Fed. Trade Comm’n,
                    27

                    28
MORGAN, LEWIS &                                               36                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                             Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 37 of 46



                     1   986 F.3d 1173, 1187 (9th Cir. 2021), cert. granted in part, 142 S. Ct. 895 (2022), and rev’d and
                     2   remanded, No. 21-1239, 2023 WL 2938328 (U.S. Apr. 14, 2023).1
                     3           15.    This kind of discretionary hearing process is exactly what Article III, the Equal
                     4   Protection Clause, the Due Process Clause, the nondelegation doctrine, and the Seventh
                     5   Amendment were designed to prevent. As the Supreme Court has emphasized, the irreducible
                     6   minimum of Due Process is “notice of the factual basis” of the Government’s assertions “and a
                     7   fair opportunity to rebut the Government’s factual assertions before a neutral decisionmaker.”
                     8   Hamdi v. Rumsfeld, 542 U.S. 507, 533 (2004). Indeed, “Parties whose rights are to be affected are
                     9   entitled to be heard; and in order that they may enjoy that right … an opportunity to be heard
                    10   must be granted at a meaningful time and in a meaningful manner.’” Id. (quoting Baldwin v.
                    11   Hale, 1 Wall. 223, 233 (1864)). And a “meaningful” hearing, for purposes of Due Process,
                    12   “requires a neutral and detached judge.” Id. (quoting Concrete Pipe & Prods. Of Cal., Inc. v.
                    13   Construction Laborers Pension Trust for S. Cal., 508 U.S. 602, 617 (1993)). “These essential
                    14   constitutional promises may not be eroded.” Id. And yet that basic protection—provided to
                    15   everyone from public employees to enemy combatants—is denied to companies caught up in a
                    16   merger challenge pursued by the FTC.
                    17           B.     The FTC Lacks Political Accountability.
                    18           16.    Article II “vested” all “executive Power” in the President, Art. II, § 1, cl. 1, and
                    19   charged the President alone with “tak[ing] Care that the Laws be faithfully executed,” Art. II, § 3.
                    20           17.    As the Supreme Court has explained, the Constitution concentrates executive
                    21   power solely in the President because the Framers wanted to “ensure … accountability” in the
                    22   Executive Branch. Printz v. United States, 521 U.S. 898, 922 (1997). They recognized that the
                    23   President could not carry out all of his duties alone, and therefore, must be able to delegate some
                    24   authority and responsibilities to others. See Art. II, § 2, cl. 2 (discussing appointments of superior
                    25   and inferior officers); Myers v. United States, 272 U.S. 52, 117 (1926) (“the President alone and
                    26   unaided could not execute the laws,” and thus must “select those who [are] to act for him under
                    27   1
                           This representation by the Ninth Circuit Court of Appeals was made before ALJ Chappell’s
                         ruling in the Illumina/Grail matter referenced above. In the most recent instance of the FTC
                    28   losing a case in an administrative proceeding, the Commissioners voted to reverse the ALJ.
MORGAN, LEWIS &                                                           37                       Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP                 DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                        AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 38 of 46



                     1   his direction in the execution of the laws.”).
                     2           18.      While the President may delegate power, the President must ensure that “the buck
                     3   stops” with him or her. Free Enterprise Fund v. PCAOB, 561 U.S. 477, 493 (2010).
                     4   Accordingly, the Supreme Court has recognized that, “as a general matter,” the President must
                     5   have the “power to remove” principal officers “who assist him in carrying out his duties.” Id. at
                     6   513-14. Indeed, if “any power whatsoever is in its nature Executive, it is the power of appointing,
                     7   overseeing, and controlling those who execute the laws.” Id. at 492 (quoting 1 Annals of Cong.
                     8   463 (1789) (Joseph 8 Gales ed., 1834) (Madison) (emphasis added)).
                     9           19.      Just as the President’s ability to select administrative officers “is essential to the
                    10   execution of the laws by him, so must be his power of removing” officers. Myers, 272 U.S. at
                    11   117. That removal power is important to the democratic legitimacy of the Executive Branch in at
                    12   least two ways. First, it makes officers less likely to deviate from the President’s (and hence, the
                    13   People’s) will. An officer who knows that disobedience can (and will) be met with removal is
                    14   less likely to take an action at odds with the President’s agenda. Second, and perhaps more
                    15   importantly, the removal power gives the People political recourse if they are displeased with the
                    16   actions taken by those who enforce federal law. Although the People cannot vote for (or against)
                    17   an Executive officer directly, they can vote for (or against) the President, who bears ultimate
                    18   responsibility for federal law enforcement. Those two mechanisms for accountability work
                    19   together to ensure that the Government officials who carry out the work of the Executive Branch
                    20   do so in a way that reflects the People’s will, and not their own.
                    21           20.      FTC Commissioners, however, are shielded from at-will Presidential removal—
                    22   and hence from the key mechanism of democratic accountability—in violation of Article II. The
                    23   FTC is headed by five Commissioners, nominated by the President and confirmed by the Senate,
                    24   each serving a 7-year term. 15 U.S.C. § 41. But once appointed, the Commissioners are not
                    25   subject to removal by the President absent a finding of “inefficiency, neglect of duty, or
                    26   malfeasance in office.” Id. This means FTC Commissioners are not politically accountable for
                    27   their actions.
                    28           21.      The ALJs that initially conduct administrative proceedings receive an additional
MORGAN, LEWIS &                                                            38                      Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 39 of 46



                     1   layer of protection from Presidential removal. FTC-appointed ALJs can also only be removed for
                     2   “good cause” in accordance with statutory procedures. 5 U.S.C. § 7521(a), (b)(1). This creates a
                     3   dual layer of protection for these ALJs. The Supreme Court has uniformly held that such dual
                     4   layered protection is unconstitutional. See Free Enterp. Fund, 561 U.S. at 495 (holding
                     5   unconstitutional similar multi-layer tenure protection where Board members appointed by SEC
                     6   could only be removed by those Commissioners, not the President, for cause); Seila Law LLC v.
                     7   CFPB, ––– U.S. ––––, 140 S. Ct. 2183, 2192, 207 L.Ed.2d 494 (2020) (finding that the removal
                     8   restrictions on the director of the CFPB violated Article II of the Constitution).
                     9          22.     The result is that crucial law enforcement actions, sometimes with massive
                    10   consequences for the American economy, are currently taken by individuals not elected by the
                    11   People, and not controlled by the President. That runs directly contrary to Article II and the
                    12   democratic principles underlying the Constitution.
                    13          C.      The FTC Adjudicates Private Rights with Limited Article III Judicial
                                        Review and no Trials by Jury.
                    14
                                23.     Article III provides that the judicial power of the United States is vested “in one
                    15
                         supreme Court, and in such inferior Courts as the Congress may from time to time ordain and
                    16
                         establish.” § 1. “Consequently, Congress cannot confer the Government’s ‘judicial Power’ on
                    17
                         entities outside Article III.” Oil States Energy Servs., LLC v. Greene’s Energy Grp., LLC, 200 L.
                    18
                         Ed. 2d 671, 138 S. Ct. 1365, 1372–73 (2018) (citing Stern v. Marshall, 564 U.S. 462, 484, 131
                    19
                         S.Ct. 2594, 180 L.Ed.2d 475 (2011)). Specifically, “Congress may not withdraw from judicial
                    20
                         cognizance any matter which, from its nature, is the subject of a suit at the common law, or in
                    21
                         equity, or admiralty.” Stern, 564 U.S. at 484.
                    22
                                24.     To determine if an entity is improperly exercising the “judicial power” courts
                    23
                         distinguish between public and private rights, with private rights requiring adjudication by Article
                    24
                         III courts. Id. at 495. Private rights were historically understood to include rights to “the three
                    25
                         ‘absolute’ rights, life, liberty, and property, so called because they appertain and belong to
                    26
                         particular men merely as individuals,’ not ‘to them as members of society or standing in various
                    27
                         relations to each other’—that is, not dependent upon the will of the government.” Wellness Int’l
                    28
MORGAN, LEWIS &                                               39                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 40 of 46



                     1   Network, Ltd. v. Sharif, 575 U. S. 665, 713–714 (2015) (dissenting opinion) (quoting 1 W.
                     2   Blackstone, Commentaries on the Laws of England 119 (1765)(internal quotation marks omitted
                     3          25.     As part of its administrative proceedings, the FTC determines the rights of parties
                     4   to engage in private transactions. This directly regulates the right of parties to use their property
                     5   and therefore their private rights as historically understood. Moreover, an FTC order in these
                     6   administrative proceedings brings with it the possibility of future civil penalties. 15 U.S.C. §
                     7   45(l). Civil penalties require a party to surrender its property and so also implicate “private
                     8   rights.” See Tull v. United States, 481 U. S. 412, 422 (1987) (“A civil penalty was a type of
                     9   remedy at common law that could only be enforced in courts of law”).
                    10          26.     Although FTC actions are technically subject to judicial review, that review is
                    11   limited. The FTC Act provides that “the findings of the commission as to the facts, if supported
                    12   by testimony, shall in like manner be conclusive” in federal court. 38 Stat. 720 (codified, as
                    13   amended, at 15 U. S. C. §45(c)). And, review of these proceedings is typically restricted to “ the
                    14   court of appeals of the United States, within any circuit where the method of competition or the
                    15   act or practice in question was used or where such person, partnership, or corporation resides or
                    16   carries on business.” Id.
                    17          27.     The FTC review process also includes no right for a regulated defendant to receive
                    18   a trial by a jury. The Seventh Amendment explicitly provides this right in “Suits at common law,
                    19   where the value in controversy shall exceed twenty dollars.” This includes actions “analogous to
                    20   Suits at common law.” Tull, 481 U. S., at 417.
                    21          28.     The FTC’s actions in its administrative proceedings that implicate the rights of
                    22   parties to engage in private commercial transactions and create the possibility of civil penalties
                    23   are analogous to actions at common law and so implicate parties’ Seventh Amendment rights.
                    24          29.     The combination of this limited judicial review and the substantial adjudication of
                    25   private rights that occurs in the FTC’s administrative process violates Article III of the
                    26   Constitution because the FTC is wielding power that is in the exclusive domain of the federal
                    27   courts. Additionally, the failure to provide parties to these proceedings with a right to a jury trial
                    28   violates the Seventh Amendment.
MORGAN, LEWIS &                                               40                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 41 of 46



                     1          D.      The FTC’s Administrative Proceeding Against Intercontinental Exchange.
                     2          30.     On May 18, 2022, Counterclaim Plaintiff Intercontinental Exchange and Black

                     3   Knight, Inc. submitted Premerger Notification and Report Forms to the Federal Trade

                     4   Commission’s Premerger Notification Office and the Department of Justice’s Antitrust Division.

                     5          31.     On June 17, 2022, the FTC issued a request for additional information and

                     6   documentary materials (“Second Request”) to both Counterclaim Plaintiff Intercontinental

                     7   Exchange and Black Knight in connection with the proposed acquisition.

                     8          32.     On October 17, 2022, Counterclaim Plaintiff Intercontinental Exchange and Black

                     9   Knight certified compliance with the Second Request.

                    10          33.     Counterclaim Plaintiff Intercontinental Exchange and Black Knight engaged in

                    11   meaningful dialogue and negotiation with the FTC, both throughout the Second Request process

                    12   and after certification, seeking to educate the FTC on market realities and the effects of the

                    13   proposed acquisition.

                    14          34.     Despite confidence that the proposed acquisition would not lead to a substantial

                    15   lessening of competition in the loan origination software (“LOS”) market, in an effort to assuage

                    16   concerns articulated by the FTC, Counterclaim Plaintiff Intercontinental Exchange and Black

                    17   Knight agreed to divest Black Knight’s LOS product, Empower, along with related assets, to

                    18   Constellation Web Solutions Inc.

                    19          35.     On March 9, 2023 and as a result of a vote the Commissioners, the FTC instituted

                    20   the administrative proceedings against Intercontinental Exchange and Black Knight.

                    21          36.     That same day, the FTC commenced an administrative proceeding on the antitrust

                    22   merits of the Acquisition before an Administrative Law Judge. In this proceeding the FTC seeks

                    23   to prevent Intercontinental Exchange and Black Knight from engaging in the Acquisition. The

                    24   trial on the merits trial scheduled to begin on July 12, 2023. Once this trial is complete and an

                    25   ALJ decision is rendered any review of that decision will be by the Commissioners themselves.

                    26   The same Commissioners who voted to institute proceedings.

                    27          37.     In a departure from longstanding practice, the FTC chose not to simultaneously

                    28   file a complaint for a preliminary injunction in federal court. Instead, the FTC waited until April
MORGAN, LEWIS &                                               41                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 42 of 46



                     1   10, 2023, to file a complaint with this court.
                     2          38.     The FTC’s complaint in this action is in aid of the administrative proceedings. It
                     3   seeks to preliminarily enjoin the acquisition.
                     4                                             COUNT I
                                        (Violation of Intercontinental Exchange’s Constitutional Rights
                     5                                 Declaratory and Injunctive Relief)
                     6          39.     Intercontinental Exchange restates and incorporates by reference each and every
                     7   allegation of the preceding paragraphs.
                     8          40.     The ongoing administrative proceeding, in which the FTC will act as prosecutor,
                     9   judge, and jury, violates several of Intercontinental Exchange’s constitutional rights.
                    10          41.     It violates Intercontinental Exchange’s Due Process rights, by, among other things,
                    11   arbitrarily subjecting Intercontinental Exchange to the FTC’s administrative processes and
                    12   depriving Intercontinental Exchange of the ability to make its case before a neutral arbiter.
                    13          42.     By arbitrarily subjecting Intercontinental Exchange to unfair procedures before an
                    14   administrative body, rather than to a fair trial before a neutral judge appointed in accordance with
                    15   Article III of the Constitution with the procedural protections of a federal court, the FTC has also
                    16   violated Intercontinental Exchange’s Equal Protection rights.
                    17          43.     The FTC’s actions separately violate Intercontinental Exchange’s Constitutional
                    18   rights because the agency’s structure, on its face, is unconstitutional under Article II. In
                    19   particular, the ALJ appointed by the FTC, has an impermissible dual-layer of insulation from
                    20   removal. Because the agency’s structure violates Article II, any actions taken against
                    21   Intercontinental Exchange under its present structure are invalid.
                    22          44.     Additionally, in this administrative proceeding, the FTC is adjudicating
                    23   Intercontinental Exchange’s private rights. Such an adjudication is improper and is the exclusive
                    24   province of a court established by Article III of the Constitution.
                    25          45.     Moreover, the adjudication of Intercontinental Exchange’s substantial private
                    26   rights in an action analogous to common law actions without a jury is unlawful under the Seventh
                    27   Amendment to the Constitution.
                    28          46.     Moreover, by failing to provide a clear principle to the FTC and DOJ to determine
MORGAN, LEWIS &                                                          42                       Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 43 of 46



                     1   which agency would investigate and prosecute a transaction under the antitrust laws, Congress
                     2   unconstitutionally delegated its legislative power to the agencies, in violation of the
                     3   nondelegation doctrine. So too Congress’s provision to the FTC the power to sue in federal or
                     4   administrative court.
                     5          47.     The Commission’s conduct has caused and will continue to cause Intercontinental
                     6   Exchange to suffer immediate and irreparable harm to its Constitutional rights. No money
                     7   damages can remedy this harm, and Intercontinental Exchange has no legal avenue by which to
                     8   recover any money damages against the Commission. The FTC’s administrative proceeding is
                     9   not speculative. It is happening and ongoing. Further, the FTC’s suit in this court is in aid of this
                    10   administrative proceeding.
                    11          48.     These violations of its constitutional rights entitle Intercontinental Exchange to
                    12   declaratory relief under the Declaratory Judgment Act 28 U.S.C. § 2201, as well as injunctive
                    13   relief against the continuation of the FTC’s administrative proceeding.
                    14                              NOTICE OF CONTEMPLATED RELIEF
                    15          WHEREFORE, Intercontinental Exchange respectfully requests that the Court enter
                    16   judgment:
                    17          A.      Denying the FTC’s requested relief;
                    18          B.      Dismissing the Complaint in its entirety, with prejudice;
                    19          C.      Declaring the FTC’s structure unconstitutional;
                    20          D.      Declaring the FTC’s administrative procedures unconstitutional;
                    21          E.      Enjoining the FTC and its Commissioners from pursuing an administrative
                    22   enforcement action against Intercontinental Exchange;
                    23          F.      Awarding Intercontinental Exchange the costs it has incurred in defending this
                    24   action and expenses; and
                    25          G.      Awarding such other and further relief to Intercontinental Exchange as the Court
                    26   may deem just and proper.
                    27

                    28
MORGAN, LEWIS &                                               43                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 44 of 46



                     1   Dated: April 25, 2023                     By _____/s/ Minna Lo Naranjo
                                                                           Minna Lo Naranjo
                     2
                                                                   Michelle Park Chiu, Bar No. 248421
                     3                                             michelle.chiu@morganlewis.com
                                                                   Minna Lo Naranjo, Bar No. 259005
                     4                                             minna.naranjo@morganlewis.com
                                                                   MORGAN, LEWIS & BOCKIUS LLP
                     5                                             One Market, Spear Street Tower
                                                                   San Francisco, CA 94105-1596
                     6                                             Telephone: (415) 442-1000
                                                                   Facsimile: (415) 442-1001
                     7
                                                                   J. Clayton Everett Jr., pro hac vice
                     8                                             clay.everett@morganlewis.com
                                                                   Ryan M. Kantor, pro hac vice
                     9                                             ryan.kantor@morganlewis.com
                                                                   MORGAN, LEWIS & BOCKIUS LLP
                    10                                             1111 Pennsylvania Avenue, NW
                                                                   Washington, D.C. 20004-2541
                    11                                             Telephone: (202) 739-3000
                                                                   Facsimile: (202) 739-3001
                    12
                                                                   John C. Dodds, pro hac vice
                    13                                             john.dodds@morganlewis.com
                                                                   Zachary M. Johns, pro hac vice
                    14                                             zachary.johns@morganlewis.com
                                                                   MORGAN, LEWIS & BOCKIUS LLP
                    15                                             1701 Market Street
                                                                   Philadelphia, PA 19103-2921
                    16                                             Telephone: (215) 963-5000
                                                                   Facsimile: (212) 309-6001
                    17
                                                                   Kalpana Srinivasan, Bar No. 237460
                    18                                             ksrinivasan@susmangodfrey.com
                                                                   Michael Gervais, Bar No. 330731
                    19                                             mgervais@susmangodfrey.com
                                                                   Jesse-Justin Cuevas, Bar No. 307611
                    20                                             jcuevas@susmangodfrey.com
                                                                   SUSMAN GODFREY L.L.P.
                    21                                             1900 Avenue of the Stars, Suite 1400
                                                                   Los Angeles, CA 90067
                    22                                             Telephone: (310) 789-3100
                                                                   Facsimile: (310) 789-3150
                    23
                                                                   (cont.)
                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &                                               44                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
                         Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 45 of 46



                     1                                           Shawn Raymond, pro hac vice pending
                                                                 sraymond@susmangodfrey.com
                     2                                           Alex Kaplan, pro hac vice
                                                                 akaplan@susmangodfrey.com
                     3                                           Adam Carlis, pro hac vice forthcoming
                                                                 acarlis@susmangodfrey.com
                     4                                           Alejandra Salinas, pro hac vice forthcoming
                                                                 asalinas@susmangodfrey.com
                     5                                           Abby Noebels, pro hac vice forthcoming
                                                                 anoebels@susmangodfrey.com
                     6                                           SUSMAN GODFREY L.L.P.
                                                                 1000 Louisiana, Suite 5100
                     7                                           Houston, Texas 77002-5096
                                                                 Telephone: (713) 651-9366
                     8                                           Facsimile: (713) 654-6666
                     9                                           Attorneys for Defendant
                                                                 Intercontinental Exchange, Inc.
                    10

                    11

                    12

                    13

                    14

                    15

                    16

                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &                                             45                    Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP             DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                    AND COUNTERCLAIMS
                          Case 3:23-cv-01710-AMO Document 57 Filed 04/25/23 Page 46 of 46



                     1                                           Proof of Service
                     2          I, Minna Lo Naranjo, hereby certify that on April 25, 2023, I electronically filed the
                     3   documents entitled “DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER
                     4   AND AFFIRMATIVE DEFENSES AND COUNTERCLAIMS” with the Clerk of the Court for
                     5   the United States District Court, Northern District of California using the CM/ECF system and
                     6   served a copy of same upon all counsel of record via the Court’s electronic filing system.
                     7
                         Dated: April 25, 2023
                     8

                     9
                                                                         By:    /s/Minna Lo Naranjo
                    10                                                          Minna Lo Naranjo
                    11

                    12

                    13

                    14

                    15

                    16

                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &                                                                     Case No. 3:23-cv-01710-AMO
 BOCKIUS LLP               DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                      AND COUNTERCLAIMS
